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 8
                                 UNITED STATES DISTRICT COURT
 9
                                EASTERN DISTRICT OF CALIFORNIA
10
     TIMOTHY CRAYTON                             Case No.   C 08-00621 WHA (NJV) (PR)
11
                          Mr. Crayton,           TIMOTHY CRAYTON’S STATUS
12                                               STATEMENT AND REQUEST FOR
     vs.                                         HEARING; [PROPOSED] ORDER
13
     A. HEDGPETH; K. HARRINGTON; and L.
14   WOOD
                                                 Judge:     Hon. William H. Alsup
15                        Defendants.            Courtroom: 8

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       CRAYTON’S STATUS STATEMENT AND REQUEST FOR HEARING; C 08-00621 WHA
                                    (NJV)
     SF-307288 v1
            Case 1:08-cv-00621-WHA Document 293 Filed 06/06/14 Page 2 of 3


 1           Plaintiff Timothy Crayton (“Mr. Crayton”), through his undersigned counsel, hereby requests

 2   a hearing to address the fact that as of June 6, 2014, he has not yet received the settlement check from

 3   the California Department of Corrections and Rehabilitation (“CDCR”).

 4           On May 9, 2014 the Court issued its Order re Settlement, [Dkt. No. 290], ordering the CDCR

 5   to provide Mr. Crayton with the settlement check pursuant to the Settlement Agreement by June 3,

 6   2014.

 7           When the settlement check did not arrive by the June 3, 2014 deadline, counsel for

 8   Mr. Crayton reached out to Deputy Attorney General Elliott Seals to inquire about the status of the

 9   check. Deputy Attorney General Seals advised that the settlement check in the amount of $8,213.67

10   was sent by the CDCR on Thursday, May 29, 2014 to Jeffrey L. Bornstein, 4 Embarcadero Center,

11   Suite 1200, San Francisco, California 94111, via standard United States mail. As of June 6, 2014,

12   counsel for Mr. Crayton has still not received the settlement check.

13           On the afternoon of June 6, 2014, counsel for Mr. Crayton conferred by telephone with

14   Deputy Attorney General Seals in an effort to resolve this issue. Mr. Seals said that he would try to

15   contact the Office of Legal Affairs as well as his contacts at CDCR next week to try to get another

16   check. Counsel for Mr. Crayton asked Deputy Attorney General Seals to expedite this process and

17   try to get a check mailed for delivery by Monday, June 9, 2014.

18           Failure to provide the check by the Court-ordered June 3, 2014 deadline blatantly disregards

19   the Settlement Agreement and the Court’s May 9, 2014 Order. If the CDCR had in fact mailed the

20   settlement check on May 29, 2014 Mr. Crayton’s counsel would have already received it.

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          CRAYTON’S STATUS STATEMENT AND REQUEST FOR HEARING; C 08-00621 WHA
                                       (NJV)
          Case 1:08-cv-00621-WHA Document 293 Filed 06/06/14 Page 3 of 3


 1          For these reasons, Mr. Crayton respectfully requests that the Court set a hearing on June 19,

 2   2014 at 8:00 a.m. or at its earliest convenience thereafter so that CDCR can explain to the Court why

 3   the settlement check has not been provided to Mr. Crayton as required.

 4                                                      Respectfully submitted,

 5                                                      K&L GATES LLP
 6
     Dated: June 6, 2014                          By:    /s/ Jeffrey L. Bornstein
 7
                                                        Jeffrey L. Bornstein
 8                                                      Claudia A. Quiroz
                                                        Attorneys for Plaintiff
 9                                                      TIMOTHY CRAYTON

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11                                         [PROPOSED] ORDER

12          IT IS HEREBY ORDERED that a hearing will be held before this Court on Thursday,

13   ___________________ at 8:00 a.m. in Courtroom 8, 19th Floor, 450 Golden Gate Avenue, San

14   Francisco, California.

15          IT IS SO ORDERED.

16
     Dated: June ___, 2014                        By:
17                                                      Honorable William H. Alsup
                                                        United States District Court Judge
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      CRAYTON’S STATUS STATEMENT AND REQUEST FOR HEARING; C 08-00621 WHA
                                   (NJV)
